               Case 1:20-cv-00221-JEB Document 11 Filed 06/29/20 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  CENTER FOR BIOLOGICAL DIVERSITY,

                            Plaintiff,

                     v.                                      Civil Action No.: 20-0221 (JEB)

  UNITED STATES DEPARTMENT OF
  THE INTERIOR,

                            Defendant.


                                         JOINT STATUS REPORT

          Pursuant to this Court’s May 29, 2020 Order, the Parties provide the following status

report:

          1.      This matter arises out of a Freedom of Information Act (“FOIA”) request that

Plaintiff submitted to Defendant on October 7, 2019. See Compl. ¶ 2. In it, Plaintiff requested

certain records “about the Tusayan Stilo development near the Grand Canyon[.]” Id. ¶ 31.

          2.      In the Parties’ previous status report, Defendant stated that it had completed all but

one search.        Defendant has now completed that outstanding search, which identified

approximately 1,531 pages of potentially responsive records.

          3.      As previously reported, the Parties agreed that Defendant would process records on

a rolling basis, reviewing 500 pages of records per month, and releasing all responsive, non-exempt

records reviewed in a given month on the third Friday of the month.

          4.      For its April 16, 2020 release, Defendant reviewed 508 pages of potentially

responsive records, and produced 257 pages, of which 25 pages were released in part with portions
            Case 1:20-cv-00221-JEB Document 11 Filed 06/29/20 Page 2 of 3




withheld pursuant to FOIA exemptions 6 and 7(C). Additionally, 229 pages were identified as

requiring consultations with other agencies and 22 pages were determined to be non-responsive.

       5.      For its May 13, 2020 release, Defendant reviewed 642 pages of potentially

responsive records, and produced 31 pages, of which 2 pages were released in part with portions

withheld pursuant to FOIA exemptions 6 and 7(C). Additionally, 233 pages were identified as

requiring consultations with other agencies and 378 pages were determined to be non-responsive.

Further, in this release, Defendant informed Plaintiff that the 229 pages identified for consultation

in the April 2020 release were determined to be non-responsive.

       6.      For its June 18, 2020 release, Defendant reviewed 548 pages of potentially

responsive records and produced 11 pages in full. Of those pages released on June 18, 2020,

5 pages were reviewed in May but were inadvertently omitted from the May release. Additionally,

19 pages were identified as requiring consultations with other agencies and 523 pages were

determined to be non-responsive.

       7.      Accordingly, there are currently 252 pages of records pending consultation and 983

pages of records remaining for processing. Under the agreed-upon schedule, Defendant’s next

release will be issued to Plaintiff by July 17, 2020.

       8.      The Parties propose that they file another joint status report by July 29, 2020,

updating the Court on the status of Defendant’s processing.
         Case 1:20-cv-00221-JEB Document 11 Filed 06/29/20 Page 3 of 3




June 29, 2020                             Respectfully submitted,

                                          MICHAEL R. SHERWIN
                                          Acting United States Attorney

                                          DANIEL F. VAN HORN
                                          D.C. Bar #924092
                                          Chief, Civil Division

                                    By:   /s/ Brian J. Field
                                          BRIAN J. FIELD
                                          D.C. Bar #985577
                                          Assistant United States Attorney
                                          555 4th Street, N.W.
                                          Washington, D.C. 20530
                                          Tel: (202) 252-2551
                                          E-mail: Brian.Field@usdoj.gov

                                          Counsel for Defendant

                                          /s/ Douglas W. Wolf
                                          Douglas W. Wolf (D.C. Bar No. 481046)
                                          Center for Biological Diversity
                                          1411 K Street NW, Suite 1300
                                          Washington, DC 20005
                                          (202) 510-5604
                                          dwolf@biologicaldiversity.org

                                          Counsel for Plaintiff
